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WELCOME HOME.
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ABOUT US


  After 10 years of housing development and management
  throughout Chicago, Indianapolis and Baltimore, Pangea Real
  Estate has built a reputation as a community leader in quality
  housing, continually meeting the needs of our residents and
  the neighborhoods we serve. Our community reputation
  allows us to attract and retain the best employees, which
  means our residents benefit from industry best practices,
  resulting in quality rentals and outstanding service. It is our
  belief that everyone deserves the opportunity for a better
  standard of living.



  Pangea Highlights:

     •   Owns over 13,000+ rentals in 3 markets
     •   Employs over 460+ people
     •   Has spent over $415MM rehabilitating properties
     •   Is 100% privately funded
     •   Is the largest known owner/operator of multi-family
         housing in our areas




Achievements




            2013–2017                                  2015                                2015-2017
        Fastest Growing                    America’s Most Promising                  Chicago’s Fifty Fastest
 Private Companies in America                                                         Growing Companies
                                                   Companies
                                      1 OF ONLY 3 CHICAGO COMPANIES LISTED
         *5th Straight Year *                                                           *3rd Straight Year*
                                                      #72
                                                   Overall Rank




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OUR PORTFOLIO FOOTPRINT




 Baltimore
 680+ Apartments & Rowhomes




 Indianapolis
3000+ Apartments & Townhomes




                                     Chicago
            9300+ Apartments & Townhomes




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LONG TERM FOCUSED OWNER OPERATOR
At Pangea Real Estate, we’re invested in the success of our buildings and the revitalization of the neighborhoods
we service. We own our apartment buildings and handle all property management functions in-house: from
construction to leasing to maintenance. Because of this, we are hands on in ensuring that all matters are personally
attended to and we are dedicated to swift, effective problem resolution. By providing a quality living condition and
successfully screening our prospective residents we help to offer our residents a safe and secure living condition.
From building to building and block to block we can help improve the dynamics of the neighborhoods we service.




                                                                                 We take pride in maintaining
                                                                                 the exterior and common
                                                                                 grounds of our properties by
                                                                                 actively managing through
                                                                                 patrol, maintenance and
                                                                                 effective resident relations.
                                                                                 Many of our buildings feature
                                                                                 24/7 security cameras, free
                                                                                 wireless internet, coin laundry
                                                                                 and gated exteriors.




              Pangea’s apartment units are newly
            rehabbed and many feature a modern
       kitchen and bathroom, modern appliances
           and hardwood floors. We pride ourself
            on our attention to detail to ensure our
      tenants receive the best quality finishes and
        apartment units in the neighborhoods we
                                           service.




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PREMIER APARTMENT RENTALS
Before & After


8 0 00 S . PAU L I NA ST.




                                     BEFORE   AFTER




                                     BEFORE   AFTER




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PREMIER APARTMENT RENTALS
Before & After




1357 N. H OM AN AV E.




                                    BEFORE   AFTER




3600 W. FR ANKL I N B LV D.




                                    BEFORE   AFTER




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PREMIER APARTMENT RENTALS
Before & After




1 33 00 S . IND I ANA AV E.




                                     BEFORE   AFTER



1 860 S . KOM ENS KY AV E.




                                     BEFORE   AFTER




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COMMUNITY OUTREACH
 Pangea recognizes the need to give back to the communities in which we serve. We don’t just invest in the
 success of individual buildings, we invest in the success of communities.


 At Pangea, we believe that helping and caring isn’t limited to a nine-to-five schedule and our strong culture
 of service and desire to make a meaningful social impact is at the heart of our company. We know that
 change takes time; that’s why we’re in this for the long term. And it’s not something we’re doing alone.
 We’re taking a collaborative approach to tackling these problems — working with Pangea Real Estate
 residents, local government officials and leading non-profit organizations. We are focused on a positive
 future and creating vibrancy in our communities.



          Pangea’s                                                                         Back to School
        Foundation                                                                         Backpack Giveaway
          Program
                                                                                           In collaboration with the
 A paid, hands-on training                                                                 Chicago White Sox, Pangea
 course that provides work                                                                 helped sponsor the CHA’s
experience and mentorship                                                                  “Back to School” event at the
  to help navigate budding                                                                 Brookfield Zoo by donating 400
     careers to high school                                                                backpacks & helping distribute
       juniors and seniors.                                                                school supplies and serve
                                                                                           lunches.



                                     Breakthrough
                                     HomeCourt
                                     Basketball
                                     Tournament
                                     Pangea sponsored one of the
                                     events by providing food and
                                     volunteers to join the 20-team
                                     basketball tournament.




                                                               Murray Park
                                                               Clean Up
                                                               In collaboration with the
                                                               Chicago Park District,
                                                               Pangeans showed up in the
                                                               rain to help spread specialized
                                                               wood chips used to prevent
                                                               children from injuring
                                                               themselves on the playground.




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                              APPENDIX




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LETTER OF SUPPORT




             December 9, 2013



             To Whom It May Concern,

             I would like to extend my support of Pangea Real Estate, and their efforts in the rehabilitation
             and consistent maintenance of some our community's buildings. In the 8th Ward Pangea
             purchased four specific properties, 8155 S. Ingleside, 8200 S. Ingleside, 910 E. 82nd, and 8148 S.
             Ingleside. Essentially taking four properties on the corner of the 8200 block of Ingleside and
             transforming both the look and the feel of it.

             Since its acquisition of these buildings, Pangea has instilled safety measures to ensure the
             security of its residents and their initiatives have been well-received by the community as a
             whole.

             Pangea has done this in more 8th Ward communities other than this one with very similar results,
             and I commend their accomplishments and look forward to working closely with them on more
             housing development projects.

             Sincerely,



             Michelle A. Harris
             Alderman, 8th Ward




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LETTER OF SUPPORT




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